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         ORDERED in the Southern District of Florida on March 16, 2023.



                                                                         Peter D. Russin, Judge
                                                                         United States Bankruptcy Court
_____________________________________________________________________________


                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                           FORT LAUDERDALE DIVISION
                                                www.flsb.uscourts.gov

             In re:                                                           Chapter 11 Cases

             VITAL PHARMACEUTICALS, INC., et al.,1                            Case No. 22-17842-PDR

                      Debtors.                                                (Jointly Administered)
                                                                          /

                     AGREED ORDER GRANTING AGREED EX PARTE MOTION TO
                CONTINUE MARCH 23, 2023 FINAL EVIDENTIARY HEARING ON MOTION
                FOR RELIEF FROM THE AUTOMATIC STAY, AND ALTERNATIVELY, FOR
                      ADEQUATE PROTECTION, AND FOR ALLOWANCE OF AN
                                   ADMINISTRATIVE CLAIM

                      THIS MATTER came before the Court upon the Agreed Ex Parte Motion to Continue

         March 23, 2023 Final Evidentiary Hearing on Motion for Relief From the Automatic Stay, and

         Alternatively, for Adequate Protection, and for Allowance of an Administrative Claim [ECF No.



         1
           The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
         tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO
         Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC
         (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc. (8019).



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941] (the “Motion”) filed on March 15, 2023, by Ardagh Metal Packaging USA Corp. (“Ardagh”).

The Court, having considered the Motion, having noted that the Debtors consent to the relief

requested in the Motion, and finding good cause to continue the March 23, 2023, final evidentiary

hearing to consider the Stay Relief Motion. It is

         ORDERED that:

         1.    The Motion is GRANTED.

         2.    The final evidentiary hearing to consider the Stay Relief Motion [ECF No. 330]

filed by Ardagh, presently scheduled for March 23, 2023 at 2:30 p.m., is CONTINUED.

         3.    The Court will conduct the final evidentiary hearing to consider the Stay Relief

Motion on June 15, 2023 at 1:30 p.m., U.S. Courthouse, 299 E. Broward Boulevard,

Courtroom 301, Fort Lauderdale, FL 33301.

         4.    The deadline for the filing of responses or objections to the Stay Relief Motion shall

be 4:30 p.m. on the second business day prior to the final evidentiary hearing set forth above, in

accordance with Local Rule 5005-1(F)(1).

                                             #   #   #

Submitted by:
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(Attorney Jordi Guso, Esq. is directed to serve this order upon all non-registered users who have
yet to appear electronically in this case and file a conforming certificate of service.)




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